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UNITED STATES DISTRICT COURT
MI])DLE DISTRICT OF FLORIDA
'I`AMPA DIVISION
HAROLD Wll,LIAl\/IS,
PLaintiff. CASE NO.:
v.

ONEMAIN FINANCIAL GROUP, LLC.

Defendant.
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COMPLAINT AND DEMAND FOR JURY TRIAL

COl\/IES NOW Plaintiff. HAROLD WILLIAMS, by and through the undersigned
counsel, and sues Defendant, ()NEMAIN FINANCIAL GROUP, LLC, and in support thereof
respectfully alleges violations of the Telephone Consumer Protcction Act, 47 U.S.C. § 227 el
seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 el .s'eq.
(“FCCPA”).

INTRODUCTION

l. The "l`CPA Was enacted to prevent companies like ONEMAIN FINANCIAL
GROUP, LLC from invading American citizen`s privacy and prevent abusive “robo-cal[s.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mi`n'zs v. Arrow Fin. .S'ervs., LLC_._ -US--, 132 S.Ct., 740, 745, 181.
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the niorning; they interrupt our dinner at night; they
force the sick and elderly out Of bed; they hound us until We Want to rip the telephone out of the
wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the autodialers to simply stop calling." O.s'orio v. Srare Fn'rm
Baak, F.s.a. 746 F. 3a 1242, 1256(11"‘cir.2014).

4. “No one can deny the legitimacy of the state’s goal: Preventing the (at horne or in
one`s pocket) from frequently ringing With unwanted calls. Every call use some of the phone
owner`s time and metal encrgy. both of which are precious. Most members of the public want to
limit ealls, especially cellular telephone calls` to family and acquaintances, and to get their
political information (not to mention their advertisements) [*6] in other Ways." Patriotic
Veterans v. Zoeller, No, 16-2059, 2017 U.S. LEXIS 471 at *5-6 ('/'lh Cir. Jan 3_, 2017)

5. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Facr Sheet.' Wheel'er Proposal !0 Prolect and Empower C,`onsumers
Againsr Umvamed Robocalls, Texls to Wireless Phones, F ederal Comrnunications Cornmission_.
(May 27, 2015)_, http://transition.fcc.gov/Daiiv Releases/Dailv Business/20l5/db0527/DOC-
333676Al.pdf.

JURISDICTION AND VENUE

6. .lurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations ofthe TCPA.

7. Subject matter jurisdiction, federal question jurisdiction. for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, Which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution. laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See

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Mims v_ A)'row Fi`n. Servs., LLC, S.Ct. 740, 748 (2012) and Osorfr) v. Slale Fcrrm chk, F.S.B.,
746 F.3d 1242, 1249 (1 1111 Cir. 2014)

8. The alleged violations described herein occurred in Hillsborough County, Florida.
Accordingly` venue is appropriate with this Court under 28 U.S.C. §139l(b)(2) as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action
occurred

FACTUAL ALLEGATIONS

9. Plaintiff is a natural pcrson, and citizen of the State of Florida, residing in
Hillsborough County, Florida

10. Plaintiff is a "consumer” as defined in Florida Statute § 559.55(8).

1 1. Plaintiff is an "alleged debtor.”

12. Plaintiff is the ‘“called party.” See Breslow v, Wel!s Fargo Br.rnk, N.A., 755 F. 3d
1265 (11th Cir. 2014) and ()Sor'io v. Sralc Farm Bank, F.S.B., 746 F.3d 1242 (1 lth Cir. 2014).

13. Defendant is a corporation which was formed in Baltimore with its principal place
of business located at 100 International Dr. 18th FL, Baltimore, MD 21202 and which conducts
business in the State of Florida through its registered agent_. C T Corporation System, located at
1200 South Pine lsland Road, Plantation_. Florida 33324.

14. The debt that is the subject matter of this Complaint is a "consumer debt” as
defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

16. Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (813) ***~8673 and was the called party and recipient of Defendant’s calls.

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17. ln or about .lune of 2014. Plaintiff began receiving telephone calls to his
aforementioned cellular telephone number from Defendant seeking to recover an alleged debt.

18. Upon receipt of the calls from Defendant, Plaintiff`s caller lD identified the calls
were being initiated from, but not limited to, the following telephone numbers (813) 654-2515__
(888) 921-2342, and (813) 280-3383

19. Defendant placed an exorbitant number of (813) ***-8673 to Plaintiffs cellular
telephone in an attempt to collect on a personal loan.

20. Upon information and belief, some or all of the calls the Defendant made to
Plaintiffs cellular telephone number were made using an "automatic telephone dialing systcm”
which has the capacity to store or produce telephone numbers to be Called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter
“autodialer calls"). Plaintiff will testify that he knew it was an autodialer because of the vast
number of calls he received. he heard a pause when lie answered his phone before a voice came
on the line and he received per-recorded messages from Defendant.

21. Furthermore` some or all of the calls at issue were placed by the defendant using a
“prerecorded voice." as specified by the TCPA, 47 U.S.C. § 227(13)(1)(A).

22. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

23. On several occasions over the last four (4) years Plaintiff instructed Del`endant`s
agent/representative to stop calling his cellular telephone

24. ln or about Novernbcr of 2017, Plaintiff answered a ca11 from Defendant to his

aforementioned cellular telephone number, met with an extended pause, held the line and was

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eventually connected to a live representative and informed an agent/representative of Defendant
Of his current financial situation and that he would pay the bill when he is able to make a
payment Plaintiff then demanded Defendant’s agent/representative to stop calling his cellular
telephone number.

25. During the aforementioned call with Defendant’s agent/representative in or about
November of 201 7'1 Plaintiff unequivocally revoke any express consent Defendant may have had
for placement of telephone calls to Plaintiff s aforementioned cellular telephone number by the
use of an automatic telephone dialing system or a pre~recorded or artificial voiee.

26. Each subsequent call Defendant made to Plaintiff"s aforementioned cellular
telephone number was done so without the “express consent” of the Plaintiff

27. Despite clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on his cellular telephone1 Defendant continues to place
automated calls to Plaintiffl

28. Defendant called Plaintiff on Plaintiff’s cellular telephone approximately three
hundred (300) times in an attempt to collect a debt.

29. None of the Defendant’s telephone calls placed to Plaintiff were for "emergency
purposes” as specified in 47 U.S.C.. § 227(b)(1)(A).

30. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiffs cellular telephone in
this case.

31. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre~recorded or artificial voice just as it did to Plaintiff`s cellular telephone in this case, with no

way for the consumer, Plaintiff, or Defendant to remove the number.

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32. Defendant`s corporate policy is structured so as to continue to call individuals like
Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

33. Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

34. Defendant has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues to call despite requested to stop.

35 . Defendant has had numerous complaints from consumers across the country
against it asking to not be called; howevei'_. Defendant continues to call the consumers

36. Defendant`s corporate policy provided no means for Plaintiff to have his number
removed from Defendant’s call list.

37. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

38. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

39. From each and every call placed without consent by Defendant to Plaintiffs
cellular teleplione, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his

right of seclusion.

40. From each and every call without express consent placed by Defendant to
Plaintiffs cellular telephone, Plaintiff suffered the injury of occupation of his cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers
or outgoing calls while the phone was ringing from Defendant"s calls

41. From each and every call placed without express consent by Defendant to
Plaintiff`s cellular telephone, Plaintiffsuffered the injury of unnecessary expenditure of his time.

For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for

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the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the cellular
telephone and deal with missed call notifications and call logs that reflected the unwanted calls.
This also impaired the usefulness of these features of Plaintist cellular phone, which are
designed to inform the user of important missed communications

42. Each and every call placed without express consent by Defendant to Plaintiff‘s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff Foi' calls
that were answered. Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call
notifications and call logs that rellected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff`s cellular phone. which are designed to inform the user of important
missed communications

43. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular

telephone`s battery power.

44. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone where a voice message was left which occupied space in Plaintiff’ s telephone
or network.

45. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of a trespass to Plaintiff`s chattel\ namely his cellular
telephone and his cellular telephone services.

46. As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress.

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COUNT I
(Violation ofthe 'I`CPA)

47. Plaintiff fully incorporates and re-alleges paragraphs one (l) through forty-six
(46) as if fully set forth herein.

48. Defendant willfully violated the 'l`CPA with respect to Plaintiff, especially for
each of the auto»dialer calls made to Plaintifl"s cellular telephone after Plaintiff notified
Defendant that he wished for the calls to stop.

49. Defendant repeatedly placed non-emergency telephone calls to Plaintiffs cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiffs prior express consent in violation of federal lawq including 47 U.S.C §
227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against ONEMAIN FINANCIAL GROUP, LLC for statutory damages, punitive
damages_, actual damages, treble damages. enjoinder from further violations of these parts and

any other such relief the court may deem just and propcr.

C()UNT Il
(Violation of the FCCPA)

50. Plaintiff fully incorporates and re-alleges paragraphs one (l) through forty-six
(46) as if fully set forth herein

51. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

52. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be

expected to harass the debtor or his or her family.

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53. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.

54. Defendant"s actions have directly and proximately resulted in Plaintiff`s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREF()RE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against ONEMAIN FlNANClAL GROUP. LLC for statutory damages punitive
damages actual damages, costs_, interest, attorney fecs, enjoinder from further violations of these

parts and any other such relief the court may deem just and proper.

Respectfully submitted.

/'s/ Octavio Gomez

 

Octavio Gomez, Esquire

Florida Bar l\lo.: 0338620

l\/lorgan & l\/Iorgan_. Tampa, P.A.

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Primar_v F,mail: TGomez@ForThePeople.com
Secondary Email: LDobbins@ForTliePeople.com
At!orne ifoi‘ Plaintiff

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CALL LOG FOR (813) ""”‘*-8673

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No. Date Time Phone Number
l. 03/10/2018 11:20 a.m. (813) 654-2515
2. 03/13/2018 6:54 p.m. (813) 654-2515
3. 03/14/2018 8:42 a.m. (813) 654-2515
4. 03/15/2018 9:19 a.m. (813) 654-2515
5. 03/16/2018 9:57 a.m. (813) 654-2515
6. 03/19/2018 8:11 a.m. (813) 654-2515
7. 03/19/2018 3:32 p.m. (813) 654-2515
8. 03/20/2018 8:03 a.m. (813) 654-2515
9. 03/21/2018 8:02 a.m. (813) 654-2515
10. 03/22/2018 11:04 a.m. (813) 654-2515
ll. 03/22/2018 3:34 p.m. (813) 654-2515
12. 03/23/2018 9:33 a.m. (813) 654-2515
13. 03/24/2018 9;03 a.m. (813) 654-2515
14. 03/27/2018 12:36 p.m. (813) 654-2515
15. 03/27/2018 4:41 p.m. (813) 654-2515
16. 03/28/2018 9:35 a.m. (813) 654-2515
17. 03/28/2018 1:40 p.m. (813) 654-2515
18. 03/28/2018 2:06 gm (813) 654-2515
19. 03/29/2018 10:42 a.m. (813) 654-2515
20. 03/29/2018 6:19 p.m. (813) 280-3383
21. 03/30/2018 8:29 a.m. (813) 654-2515
22. 04/04/2018 8:37 a.m. (888) 921~2342
23. 04/09/2013 12:15 p.m. rass) 921-2342
24. 04/10/2018 4;26 p.m. (888) 921-2342

 

 

 

EXHIBIT A

 

 

 

